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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA

-v.- : INDICTMENT
ARNALDO URBINA SOTO,
CARLOS FERNANDO URBINA SOTO, and
MIGUEL ANGEL URBINA SOTO,

Defendants.

COUNT ONE
(Cocaine Importation Conspiracy)

The Grand Jury charges:
OVERVIEW

1. From at least in or about 2004, up to and including
in or about 2014, multiple drug-trafficking organizations in
Honduras and elsewhere worked together, and with support from
certain prominent public and private individuals, including
Honduran politicians and law enforcement officials, to receive
multi-hundred-kilogram loads of cocaine sent to Honduras via air
and maritime routes from, among other places, Venezuela and
Colombia. The cocaine shipments were transported westward within
Honduras toward the border with Guatemala and eventually imported
into the United States, often in coordination with high-ranking

members of Mexico’s Sinaloa Cartel. —— more

   
  
 

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2. From at least in or about 2005, up to and including
in or about 2014, ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO,
and MIGUEL ANGEL URBINA SOTO, the defendants, operated one such
Honduran drug-trafficking organization, which was based in Yoro,
Honduras, where ARNALDO URBINA SOTO acted as mayor between in or
about 2009 and in or about 2014.

3, From at least in or about 2005, up to and including
in or about 2014, ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO,
and MIGUEL ANGEL URBINA SOTO, the defendants, capitalized on their
power in the Yoro Department and aligned with other major Honduran
criminal syndicates, such as the Cachiros and the Copan-based group
led by Miguel Arnulfo Valle Valle and Luis Alonso Valle Valle, to
receive cocaine-laden aircraft at various locations in Honduras,
including clandestine airstrips in remote areas as well as public
roads in the vicinity of Yoro. ARNALDO URBINA SOTO, CARLOS
FERNANDO URBINA SOTO, and MIGUEL ANGEL URBINA SOTO coordinated --
and at times personally joined -- heavily armed security details
that oversaw the unloading of the planes and the transportation of
the illicit cargo in connection with the process of importing
Massive quantities of cocaine into the United States.

STATUTORY ALLEGATIONS

 

4, From at least in or about 2005, up to and including

in or about 2014, in Honduras and elsewhere, and in an offense
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begun outside of the jurisdiction of any particular State or
district of the United States, ARNALDO URBINA SOTO, CARLOS FERNANDO
URBINA SOTO, and MIGUEL ANGEL URBINA SOTO, the defendants, who are
expected to be first brought to and arrested in the Southern
District of New York, and others known and unknown, at least one
of whom has been first brought to and arrested in the Southern
District of New York, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other
to violate the narcotics laws of the United States.

5. It was a part and an object of the conspiracy that
ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO, and MIGUEL ANGEL
URBINA SOTO, the defendants, and others known and unknown, would
and did import into the United States and into the customs
territory of the United States from a place outside thereof a
controlled substance, in violation of Title 21, United States Code,
Sections 952(a) and 960(a) (1).

6. It was further a part and an object of the
conspiracy that ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO,
and MIGUEL ANGEL URBINA SOTO, the defendants, and others known and
unknown, would and did manufacture and distribute a controlled
substance, intending, knowing, and having reasonable cause to
believe that such substance would be unlawfully imported into the

United States and into waters within a distance of 12 miles of the

 
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coast of the United States from a place outside thereof, in
violation of Title 21, United States Code, Sections 959(a) and
960 (a) (3).

7. It was further a part and an object of the
conspiracy that ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO,
and MIGUEL ANGEL URBINA SOTO, the defendants, and others known and
unknown, would and did manufacture, distribute, and possess a
controlled substance on board an aircraft registered in the United
States, in violation of Title 21, United States Code, Sections
959{c) and 960(a) (3).

8. The controlled substance that ARNALDO URBINA SOTO,
CARLOS FERNANDO URBINA SOTO, and MIGUEL ANGEL URBINA SOTO, the
defendants, conspired to (a) import into the United States and
into the customs territory of the United States from a place
outside thereof, (ob) manufacture and distribute, intending,
knowing, and having reasonable cause to believe that such substance
would be unlawfully imported into the United States and into waters
within a distance of 12 miles of the coast of the United States
from a place outside thereof, and (c} manufacture, distribute, and
possess on board an aircraft registered in the United States, was
five kilograms and more of mixtures and substances containing a

detectable amount of cocaine, its salts, optical and geometric
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isomers, and salts of isomers, in violation of Title 21, United
States Code, Section 960{b}) (1) (B).

(Title 21, United States Code, Sections 959 and 963; and
Title 18, United States Code, Section 3238.)

COUNT TWO
(Possession of Machineguns and Destructive Devices)

The Grand Jury further charges:

9. Paragraphs One through Three of this Indictment are
realleged and incorporated by reference as though fully set forth
herein.

10. From at least in or about 2005, up to and including
in or about 2014, in Honduras and elsewhere, and in an offense
begun outside of the jurisdiction of any particular State or
district of the United States and for which one of two or more
joint offenders has been first brought to and arrested in the
Southern District of New York, CARLOS FERNANDO URBINA SOTO and
MIGUEL ANGEL URBINA SOTO, the defendants, who are expected to be
first brought to and arrested in the Southern District of New York,
during and in relation to a drug trafficking crime for which they
may be prosecuted in a court of the United States, to wit, the
narcotics importation conspiracy charged in Count One of this
Indictment, knowingly used and carried firearms, and, in

furtherance of such crime, possessed firearms, and aided and
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abetted the use, carrying, and possession of firearms, to wit,
machineguns that were capable of automatically shooting more than
one shot, without manual reloading, by a single function of the
trigger, as well as destructive devices.

(Title 18, United States Code,
Sections 924(c) (1) (A), 924(c) (1) (B) (11), 3238, and 2.)

COUNT THREE
(Conspiracy to Possess Machineguns and Destructive Devices)

The Grand Jury further charges:

11. Paragraphs One through Three of this Indictment are
realleged and incorporated by reference as though fully set forth
herein,

12. From at least in or about 2005, up to and including
in or about 2014, in Honduras and elsewhere, and in an offense
begun outside of the jurisdiction of any particular State or
district of the United States, ARNALDO URBINA SOTO, CARLOS FERNANDO
URBINA SOTO, and MIGUEL ANGEL URBINA SOTO, the defendants, who are
expected to be first brought to and arrested in the Southern
District of New York, and others known and unknown, at least one
of whom has been first brought to and arrested in the Southern
District of New York, intentionally and knowingly combined,
conspired, confederated, and agreed together and with each other

to violate Title 18, United States Code, Section 924(c).

 

 
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13. It was a part and an object of the conspiracy that
ARNALDO URBINA SOTO, CARLOS FERNANDO URBINA SOTO, and MIGUEL ANGEL
URBINA SOTO, the defendants, and others known and unknown, during
and in relation to a drug trafficking crime for which they may be
prosecuted in a court of the United States, to wit, the narcotics
importation conspiracy charged tn Count One of this Indictment,
would and did use and carry firearms, and, in furtherance of such
drug trafficking crime, possess firearms, including machineguns
that were capable of automatically shooting more than one shot,
without manual reloading, by a single function of the trigger, as
well as destructive devices, in violation of Title 18, United
States Code, Sections 924(c) (1) (A) {i) and 924(c) (1) (B) (11).

(Title 18, United States Code, Sections 924(o0) and 3238.)

FORFEITURE ALLEGATION
{As to Count One)

 

14. As a result of committing the controlled substance
offense charged in Count One of this Indictment, ARNALDO URBINA
soro, CARLOS FERNANDO URBINA SOTO, and MIGUEL ANGEL URBINA SOTO,
the defendants, shall forfeit to the United States, pursuant to
Title 21, United States Code, Sections 853 and 970, any and all
property constituting, or derived from, any proceeds the
defendants obtained, directly or indirectly, as a result of the

offense, and any and all property used, or intended to be used, in

 
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any manner or part, to commit, and to facilitate the commission of
the offense charged in Count One of this Indictment.

FORFEITURE ALLEGATION
(As to Counts Two and Three)

 

15. As a result of committing the firearms offenses
charged in Counts Two and Three of this Indictment, ARNALDO URBINA
SOTO, CARLOS FERNANDO URBINA SOTO, and MIGUEL ANGEL URBINA SOTO,
the defendants, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 924(d), all firearms and
ammunition involved in and used in the commission of the offenses
charged in Counts Two and Three of this Indictment.

Substitute Assets Provision

 

16. If any of the above-described forfeitable property,
as a result of any act or omission of ARNALDO URBINA SOTO, CARLOS

FERNANDO URBINA SOTO, and MIGUEL ANGEL URBINA SOTO, the defendants:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

Cc. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which
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cannot be subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21, United
States Code, Sections 853(p) and 970, and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property of
the defendants up to the value of the above forfeitable property.

(Title 21, United States Code, Sections 853 & 970; and
Title 28, United States Code, Section 2461(c}).)

sitting,

  

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FOREPERSON — GEOFFREY §. BERMAN
United States Attorney

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
= We —_
ARNALDO URBINA SOTO,
CARLOS FERNANDO URBINA SOTO, and
MIGUEL ANGEL URBINA SOTO,

Defendants.

 

INDICTMENT

(21 U.S.C. §§ 959, 963; and

18 U.S.C. §§ 924, 3238, 2.)

GEOFFREY S. BERMAN
United States Attorney.

A TRUE BILL

Foreperson.

 

 

 

 

 
